




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

HECTOR HERNANDEZ MARTINEZ,)
		    No. 08-03-00181-CV

)


			Appellant,)
			Appeal from

)
	

v.)
		County Court at Law No. 7

)


JUAN HERRERA and MET-TECH, INC.,)
		  of El Paso County, Texas

)


			Appellees.)
		         (TC# 2000-2566)


MEMORANDUM OPINION



	Pending before the Court is the joint motion of Appellant, Hector Hernandez Martinez, and
Appellees, Juan Herrera and Met-Tech Inc., to dismiss this appeal pursuant to Tex.R.App.P. 42.1,
which states that:

	(a) On Motion or By Agreement.  The appellate court may dispose of an appeal as
follows:


		(1) On Motion of Appellant.  In accordance with a motion of appellant, the
court may dismiss the appeal or affirm the appealed judgment or order unless
disposition would prevent a party from seeking relief to which it would
otherwise be entitled.


		(2) By Agreement.  In accordance with an agreement signed by the parties or
their attorneys and filed with the clerk, the court may:


			(A) render judgment effectuating the parties' agreements;


			(B) set aside the trial court's judgment without regard to the merits
and remand the case to the trial court for rendition of judgment in
accordance with the agreements; or

			(C) abate the appeal and permit proceedings in the trial court to
effectuate the agreement.


	By their motion, Appellant and Appellees voluntarily request dismissal of the appeal because
the parties have settled all matters in controversy.  The motion is granted and the appeal is dismissed
with prejudice.  Pursuant to the parties' agreement, we assess costs against the party incurring same.
See Tex.R.App.P. 42.1(d)(absent agreement of the parties, the court will tax costs against the
appellant).



October 16, 2003					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


